Case 1:25-mj-02331-EGT Document 1 Entered on FLSD Docket 02/21/2025 Page 1 of 7




                                                     25-MJ-2331-TORRES

                                                    25-CR-39
                                                    Judge Brian M. Cogan
                                                    Magistrate Judge Robert M. Levy
                                                                        BM

                                                               Feb 21, 2025

                                                                          MIAMI




 01/30/2025                                                        on behalf of


         Brooklyn, New York                 Brenna B. Mahoney, Clerk of Court
Case 1:25-mj-02331-EGT Document 1 Entered on FLSD Docket 02/21/2025 Page 2 of 7




                                             FILED
                                             IN CLERK’S OFFICE
                                             U.S. DISTRICT COURT E.D.N.Y.
                                             * JANUARY 30, 2025 *
                                             BROOKLYN OFFICE

                                             25-MJ-2331-TORRES

                                                    25-CR-39



                                             Judge Brian M. Cogan
                                             Magistrate Judge Robert M. Levy
Case 1:25-mj-02331-EGT Document 1 Entered on FLSD Docket 02/21/2025 Page 3 of 7
Case 1:25-mj-02331-EGT Document 1 Entered on FLSD Docket 02/21/2025 Page 4 of 7
Case 1:25-mj-02331-EGT Document 1 Entered on FLSD Docket 02/21/2025 Page 5 of 7
Case 1:25-mj-02331-EGT Document 1 Entered on FLSD Docket 02/21/2025 Page 6 of 7
Case 1:25-mj-02331-EGT Document 1 Entered on FLSD Docket 02/21/2025 Page 7 of 7
